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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LAPEYRE STAIR, INC., Civil ACtiOn NO.
Plaintiff,
COMPLAINT
v. (with Jury Demand)

UN:TED sTRUcTURAL woRKs, :Nc.
and THE HANOVER INsURANcs
coMPANY,

Defendants.

 

 

Plaintiff Lapeyre Stair, Inc. (“Lapeyre”), by its
attorneys, Greenbaum, Rowe, Smith & Davis LLP, for its Complaint
against defendants United Structural Works, Inc. (“USW”) and The
Hanover Insurance Company (“Hanover”), alleges as follows:

THE PARTIES

l. Plaintiff Lapeyre is a Louisiana corporation having
its principal office at 5117 Toler Street, Harahan, Louisiana.

2. Upon information. and. belief, defendant USW is ii New
York corporation having its principal office at 45 Hemlock
Drive, Congers, New York.

3. Upon information_ and_ belief, defendant Hanover is a
New Hampshire corporation_ having its principal office at 440
Lincoln Street, Worcester, Massachusetts.

4. Upon information and belief, Hanover is engaged in the

business of, amongst other things, issuing construction surety

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bonds, including but not limited to bonds that discharge
mechanic’s liens.

5. Upon information and belief, Hanover is authorized to
conduct business in the State of New York.

JURISDICTION AND VENUE

 

6. This Court has jurisdiction over this action pursuant
to 28 U.S.C. § 1332. There is diversity of citizenship between
plaintiff and defendants, and the amount in controversy exceeds
$75,000.00, exclusive of interest and costs.

7. This Court has supplemental jurisdiction over any
state law claims pursuant to 28 U.S.C. § 1367.

8. Venue for this action is proper in this District under
28 U.S.C. § 1391(b} because a substantial part of the events
giving rise to plaintiff’s claims against defendants occurred in
this District.

FACTUAL ALLEGATIONS

 

A. Background.

9. Lapeyre designs, fabricates and sells stair systems,
including' but not _limited to steel stairs, alternating tread
stairs and related railing and landing components.

10. Lapeyre's stair systems are used ill a wide range of
construction projects, including commercial, industrial,

institutional and residential buildings.

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11. In or about January 2016, USW contacted Lapeyre for
the first time to inquire about Lapeyre providing stair systems
on projects in New York County, New York on which USW was
serving as the general contractor.

12. During the balance of 2016, USW submitted separate
purchase orders to Lapeyre in connection. with_ three (3) such
projects in New York County.

B. The 390 Madison Avenue Project.

13. On February 26, 2016, USW submitted Purchase Order No.
5232 to Lapeyre in connection with a project in the building
located. at 390 Madison. Avenue, New 'York, New York (the “390
Madison Project”).

14. Purchase Order No. 5232 provided for $320,000 worth of
materials and work (with an additional $26,800 in tax}.

15. After a series of changes to and deletions from
Purchase Order No. 5232, Lapeyre provided the requested stairs
and related assemblies to USW for the 390 Madison Project.

16. Lapeyre ultimately invoiced USW $186,113.50 for its
work and materials in connection with the 390 Madison Project.

17. USW' paid. Lapeyre $136,971.08, leaving al balance due
and owing to Lapeyre of $49,142.42 for the 390 Madison Project.

18. Lapeyre has demanded that USW pay the balance due and
owing on the 390 Madison Project, but USW has failed and refused

to do so.

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C. The Hudson Yards Project.

19. On March 23, 2016, USW submitted Purchase Order No.
5347 to Lapeyre in connection. with. USW’s work at the Hudson
Yards project in New York, New York (the “Hudson Yards
Project”).

20. Purchase Order No. 5347 provided for $325,000 worth of
materials and work.

21. After a series of changes to and deletions from
Purchase Order No. 5347, Lapeyre provided the requested stairs
and related assemblies to USW for the Hudson Yards Project.

22. USW paid Lapeyre $65,534, leaving a kelance due and
owing to Lapeyre of not less than $137,162.98 on the Hudson
Yards Project.

23. Lapeyre has demanded that USW pay the balance due and
owing on the Hudson Yards Project, but USW has failed and
refused to do so.

D. Barnard College Project.

24. On December 16, 2016, USW submitted Purchase Order No.
6830 to Lapeyre in connection with USW's work on a project at
Barnard College in New York, New York (the “Barnard College
Project”).

25. Purchase Order No. 6830 provided for $225,000 worth of

materials and work.

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26. After a series of changes to and deletions from
Purchase Order No. 6830, Lapeyre provided the requested stairs
and related assemblies to USW for the Barnard College Project.

27. Notwithstanding Lapeyre having invoiced USW for
$178,888.71, USW has failed to remit a single payment to Lapeyre
for‘ the materials that Lapeyre provided. to USW in connection
with the Barnard College Project.

28. Lapeyre has demanded that USW pay the balance due and
owing on the Barnard College Project, but USW has failed and
refused to do so.

FIRST CLAIM FOR RELIEF
(Breach of Contract)

29. Lapeyre repeats and realleges each and every
allegation contained in Paragraphs l through 28 of the Complaint
as if fully set forth herein.

30. Lapeyre and USW entered into purchase orders, to wit,
Purchase Order Nos. 5232, 5347 and 6830, as modified by certain
change orders and other amendments and/or deletions, in
connection with Lapeyre’s provision of stairs and other related
materials to 'USW for use at the 390 Madison. Project, Hudson
Yards Project and Barnard College Project.

31. Lapeyre fabricated and delivered the stairs and
materials to USW, which proceeded to use same in the above

projects.

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32. USW has outstanding, unpaid invoices totaling not less
than $365,194.11 owed to Lapeyre, plus interest and other
charges.

33. Lapeyre has demanded that USW pay these past due
amounts, but USW has failed and refused to do so.

34. All conditions to the payment of the above past due
amounts have been satisfied or have been excused by USW's
wrongful or arbitrary acts or omissions.

35. The failure of USW to make the demanded payments
constitutes material breaches of its contracts with Lapeyre.

36. As a direct and proximate result of USW's breaches of
contracts, Lapeyre has suffered and continues to suffer damages
in an amount to be determined.

SECOND CLAIM FOR RELIEF
(Account Stated)

37. Lapeyre repeats and realleges each and every
allegation set forth in the First Claim for Relief of the
Complaint as if fully set forth herein.

38. Heretofore, Lapeyre submitted to USW copies of the
invoices and periodic statements of the account, many of which
were retained without objection, thus creating an account
stated.

39. Lapeyre has made demand upon USW to pay these past due

amounts, but USW has failed and refused to do so.

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40. By reason of the foregoing, Lapeyre has suffered and
continues to suffer damages in an amount to be determined,
together with interest thereon.

THIRD CLAIM FOR RELIEF
(Unjust Enrichment)

41. Lapeyre repeats and realleges each and every
allegation set forth in the First and Second Claims for Relief
of the Complaint as if fully set forth herein.

42. USW received. a benefit in the form of the services
rendered. by Lapeyre at the 390 Madison. Project, Hudson. Yards
Project and Barnard College Project.

43. Lapeyre had a reasonable expectation of remuneration
when it performed services at those projects.

44. USW's failure to remunerate Lapeyre has resulted. in
USW's unjust enrichment, and USW's retention of the benefit
conferred by Lapeyre would be unjust.

FOURTH CLAIM FOR RELIEF
(Quantum Meruit)

45. Lapeyre repeats and realleges each and every
allegation contained in the First through Third Claims for
Relief of the Complaint as if fully set forth herein.

46. Lapeyre seeks recovery from USW for the reasonable
value of the goods and materials fabricated by Lapeyre and
delivered by Lapeyre to USW, upon USW's promise that it would

pay a reasonable price for same.

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47. Lapeyre has made demand upon USW to make paymentr but
USW has failed and refused to do so.

48. ns a direct and proximate result of the foregoing,
Lapeyre has suffered and continues to suffer damages in an
amount to be determined.

FIFTH CLAIM FOR RELIEF
(Breach of the Implied Covenant of Good Faith and Fair Dealing)

49. Lapeyre repeats and realleges each and every
allegation contained in the First through Fourth Claims for
Relief of the Complaint as if fully set forth herein.

50. The purchase orders for the 390 Madison Project,
Hudson Yards Project and Barnard College Project contain an
implied covenant of good faith and fair dealing, obligating USW
to act in good faith and deal fairly in fulfilling its
contractual obligations, so as not to injure Lapeyre or deprive
Lapeyre of its right to receive the benefits under said purchase
orders.

51. USW breached its obligations under Purchase Order Nos.
5232, 5347 and 6830, including but not limited to the implied
duty of good faith and fair dealing, by failing to compensate
Lapeyre for the work that Lapeyre performed at the 390 Madison
Project, Hudson Yards Project and Barnard College Project,
despite repeated demands.

52. As a direct and proximate result of the foregoing,

Lapeyre has been damaged to an extent not yet fully determined.

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SIXTH CLAIM FOR RELIEF
(Mechanic's Lien Claim)

53. Lapeyre repeats and realleges each and every
allegation contained in the First through Fifth Claims for
Relief of the Complaint as if fully set forth herein.

54. On or about July 21, 2017, Lapeyre duly filed a Notice
of Mechanic's Lien with the Clerk of the County of New York in
the amount of 8180,336.00 (the sum of the unpaid invoices and
interest accrued as of that date) against the Barnard College
Project (the “Mechanic's Lien”).

55. Upon_ information. and. belief, on or about August 9,
2017, USW filed a surety bond (Bond. No. 1049873) issued. by
Hanover in the amount of $198,369.60 (i;e;, 110% of the face
amount of the Mechanic’s Lien) (the “Bond”) with the Clerk of
the County of New York pursuant to N.Y. Lien Law § 21(5)(a).

56. Upon information and belief, the Bond released and
discharged the Barnard College Project from the Mechanic’s Lien.

57. Pursuant to the terms of the Bond, Hanover is
obligated to pay, up to the Bond limits, any judgment which may
be entered in favor of Lapeyre in this action to enforce the

Mechanic’s Lien.

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PRAYER FOR RELIEF

 

WHEREFORE, plaintiff respectfully requests that this Court:

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A.

On its First Claim for Relief, award judgment to
plaintiff against defendant USW for compensatory
damages in an amount to be determined at trial,
plus interest thereon;

On its Second Claim for Relief, award judgment to
plaintiff against defendant USW for compensatory
damages in an amount to be determined at trial,
plus interest thereon;

On its Third Claim for Relief, award judgment to
plaintiff against defendant USW for compensatory
damages in an amount to be determined at trial,
plus interest thereon;

On its Fourth Claim for Relief, award judgment to
plaintiff against defendant USW for compensatory
damages in an amount to be determined at trial,
plus interest thereon;

On its Fifth Claim for Relief, award judgment to
plaintiff against defendant USW for compensatory
damages in an amount to be determined at trial,
plus interest thereon;

On its Sixth Claim for Relief, award judgment to
plaintiff against defendants USW and Hanover,
jointly' and severallyg for compensatory damages
in an amount to be determined at trial, plus
interest thereon;

Award plaintiff costs and disbursements of this
action; and

Grant plaintiff such other and further relief as
this Court deems just and proper.

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Dated:

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Woodbridge, New Jersey
January 18, 2018

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